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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    TEXARKANA DIVISION


 JOE ANDREW SALAZAR,

          Plaintiff,
                                                      CIVIL ACTION NO. 5:19-CV-00075-RWS
 v.

 AT&T MOBILITY LLC, SPRINT UNITED
 MANAGEMENT COMPANY, T-MOBILE
 USA INC., and CELLCO PARTNERSHIP
 d/b/a VERIZON WIRELESS, INC.,

          Defendants,

          and

 HTC CORP., and HTC AMERICA, INC.,

          Intervenors.


                                              ORDER

      Before the Court is HTC Corp. and HTC America, Inc.’s Motion to Intervene
   .
(Docket No. 55). Plaintiff filed a notice explaining that he does not oppose the Motion based on

the parties’ agreement to not file additional briefing related to the pending motions to dismiss

and transfer. Docket No. 61. Accordingly, it is hereby

          ORDERED that the Motion to Intervene by HTC Corp. and HTC America, Inc.

is GRANTED.            The Clerk is direct to file the proposed pleading titled “HTC Corp. and

HTC America, Inc’s Complaint in Intervention”, attached to the Motion as Exhibit A, on the

docket.

       So ORDERED and SIGNED this 13th day of December, 2019.




                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
